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                     Exhibit F
Case 4:23-cv-03560             Document 271-7                 Filed on 06/20/25 in TXSD                      Page 2 of 3


From:           Arin, Michael
To:             Beynon, Rebecca A.
Cc:             Monahan, Kara; Syed, Afraa; Albert, Bradley Scott; Butrymowicz, Daniel W.; Herts, Dylan; Hubinger, Leah;
                Kennedy, Patrick; Perlman, Neal; Sprague, Eric M.; David J. Beck; Garrett Brawley; Klineberg, Geoffrey M.;
                Fetterman, Kenneth M.; Adler, Hannah G.
Subject:        [EXTERNAL] RE: USAP Responses to RFAs - FTC v. USAP - 4:23-cv-03560 (S.D. Tex.)
Date:           Tuesday, June 3, 2025 1:58:14 PM



Rebecca,

Thank you for the letter and amended RFA responses. Regarding USAP’s intention to amend
paragraph 141 of its answer, we do not consent to USAP amending its answer at this late
stage.

Best,
Michael

From: Beynon, Rebecca A. <rbeynon@kellogghansen.com>
Sent: Wednesday, May 28, 2025 9:18 AM
To: Arin, Michael <marin@ftc.gov>
Cc: Monahan, Kara <kmonahan@ftc.gov>; Syed, Afraa <asyed@ftc.gov>; Albert, Bradley Scott
<BALBERT@ftc.gov>; Butrymowicz, Daniel W. <dbutrymowicz@ftc.gov>; Herts, Dylan
<dherts@ftc.gov>; Hubinger, Leah <lhubinger@ftc.gov>; Kennedy, Patrick <pkennedy@ftc.gov>;
Perlman, Neal <nperlman@ftc.gov>; Sprague, Eric M. <ESPRAGUE@ftc.gov>; David J. Beck
<dbeck@beckredden.com>; Garrett Brawley <gbrawley@beckredden.com>; gklineberg-contact
<gklineberg@kellogghansen.com>; Fetterman, Kenneth M. <kfetterman@kellogghansen.com>;
Adler, Hannah G. <hadler@kellogghansen.com>
Subject: RE: USAP Responses to RFAs - FTC v. USAP - 4:23-cv-03560 (S.D. Tex.)

Dear Counsel:

Please see attached.

Best regards,
Rebecca



From: Arin, Michael <marin@ftc.gov>
Sent: Wednesday, April 30, 2025 4:23 PM
To: Beynon, Rebecca A. <rbeynon@kellogghansen.com>
Cc: Monahan, Kara <kmonahan@ftc.gov>; Syed, Afraa <asyed@ftc.gov>; Klineberg, Geoffrey M.
<gklineberg@kellogghansen.com>; Hansen, Mark C. <mhansen@kellogghansen.com>; David Beck
<DBECK@beckredden.com>; 'gbrawley@beckredden.com' <gbrawley@beckredden.com>
Subject: [EXTERNAL] USAP Responses to RFAs - FTC v. USAP - 4:23-cv-03560 (S.D. Tex.)
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Counsel,

Please see attached.

Michael Arin (he/him)
Attorney | Federal Trade Commission
Bureau of Competition—Health Care Division
Office: 202-326-3531 | Mobile: 301-917-4806
